      Case 1:19-cv-00169-DMT-CRH Document 39 Filed 06/08/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

American Guarantee & Liability Insurance         )
Company a/s/o both QC Energy Resources           )
Northwest, LLC and Quality Environmental         )       ORDER RESCHEDULING FINAL
Services, Inc., and QC Energy Resources          )       PRETRIAL CONFERENCE AND
Northwest, LLC, and Quality Environmental        )       TRIAL
Services, Inc., individually,                    )
                                                 )
              Plaintiffs,                        )
                                                 )
       vs.                                       )
                                                 )
Richland Pump & Supply, Inc. and Iron            )       Case No. 1:19-cv-169
Mule Products, Inc.,                             )
                                                 )
              Defendants.                        )


       On June 8, 2021, the court held a status conference with the parties. Pursuant to its

discussion with the parties, the court ORDERS:

       1.     The jury trial scheduled for September 27, 2021, shall be rescheduled for April 26,

              2022, at 9:00 AM in Bismarck (courtroom #1) before Judge Traynor. A four (4) day

              trial is anticipated.

       2.     The final pretrial conference scheduled for September 14, 2021, shall be rescheduled

              for April 13, 2022, at 9:00 AM by telephone before the undersigned. To participate

              in the final pretrial conference, the parties are to call (877) 810-9415 and enter access

              code 8992581.

       Dated this 8th day of June, 2021.

                                              /s/ Clare R. Hochhalter
                                              Clare R. Hochhalter, Magistrate Judge
                                              United States District Court
